

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-22,144-05






BRIAN EDWARD PRESTON, Relator


v.


HARRIS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 468249-C IN THE 230th  JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 230th  Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Harris County.  Should the District Clerk respond with a copy of
an order designating issues, the response shall include the date upon which the District Attorney was
served with the writ application. This application for leave to file a writ of mandamus shall be held
in abeyance until the respondent has submitted the appropriate response.  Such response shall be
submitted within 30 days of the date of this order.



Filed: March 24, 2010

Do not publish	


